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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District
                                                  __________  DistrictofofNew York
                                                                           __________

               WORLDWIDE FUN LTD., and                             )
                SMILING ALBINO LTD.,                               )
                                                                   )
                                                                   )
                            Plaintiff(s)                           )
                                                                   )
                                v.                                        Civil Action No. 1:25-CV-04024
                                                                   )
    SANUK ENTERPRISES, INC., KENNETH FISH                          )
           d/b/a ABSOLUTE TRAVEL                                   )
                                                                   )
                                                                   )
                           Defendant(s)                            )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KENNETH FISH d/b/a ABSOLUTE TRAVEL
                                           144 COLUMBUS AVE., APT. 27A
                                           NEW YORK, NEW YORK 10023




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: JENNIFER REDMOND, ESQ.
                                           REDMOND LAW PLLC
                                           80 BROAD ST. STE., 1202
                                           NEW YORK, NEW YORK 10004



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:             05/14/2025                                                                    /s/ P. Canales
                                                                                        Signature of Clerk or Deputy Clerk
